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               Case 2:23-cv-01369-DJP-MBN                Document 29-12      Filed 06/18/24   Page 1 of 15




                                          UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF LOUISIANA


              ST. CHARLES PARISH, A POLITICAL
              SUBDIVISION OF THE STATE OF
              LOUISIANA, AND MATTHEW JEWELL,
              IN HIS OFFICIAL CAPACITY AS ST.
              CHARLES PARISH PRESIDENT,
                                                                 Civil Action No. 2:23-cv-01369
                                  Plaintiffs,
                                                                 Section P
                      v.
                                                                 Judge Papillion
              FEDERAL EMERGENCY MANAGEMENT
              AGENCY,                                            Magistrate Judge North

                                  Defendant.



                                       DECLARATION OF MIKHAIL PALATNIK

                     I, Mikhail Palatnik, do hereby declare and state as follows:

                     1.      I am the Senior Vice President for Product and Insurance Solutions (Protect) at

            CoreLogic and have worked for CoreLogic for over twelve years. CoreLogic provides data, real

            estate, mortgage, and insurance solutions. Our insurance solutions are based on innovative

            software platforms that enable real-time decision-making by insurers and property owners by

            providing detailed and comprehensive analyses of potential risk. CoreLogic’s services include,

            but are not limited to providing precise location information to analyze structure risk, providing

            claims management services, and providing hazard risk services. In my role as Senior Vice

            President, I have responsibility for CoreLogic’s product management for the Product and

            Insurance Solutions (Protect) division.

                     2.      The Federal Emergency Management Agency (“FEMA”) awarded Prime Contract

            No. 70FA6018P00000005 (the “Contract”) to CoreLogic on or about August 24, 2018. The
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               Case 2:23-cv-01369-DJP-MBN                Document 29-12   Filed 06/18/24      Page 2 of 15




            Contract required CoreLogic to provide Catastrophe Data Model Software (“Software”) for the

            purposes of developing risk modeling and pricing for the National Flood Insurance Program’s

            (“NFIP”) Risk Rating 2.0 program. Under the Contract, CoreLogic provides FEMA licenses to its

            Software, which analyzes catastrophic data modeling for the purposes of running models for

            insurance, reinsurance and risk ratings, and reviewing and validating model output related to the

            NFIP.

                     3.      The NFIP offers flood insurance coverage to homeowners, renters, and businesses

            as protection against flood losses. In addition to offering flood insurance, the NFIP identifies

            communities’ flood risks, maps and publishes Flood Insurance Rate Maps of those risks, assists

            communities in meeting floodplain management requirements, and communicates the benefits of

            flood insurance protection to facilitate reimbursement for flood damage caused to properties

            through the NFIP.

                     4.      CoreLogic provides FEMA licenses to its proprietary and sensitive Software

            products, services, and models under the trade names of: Risk Meter API; Replacement Cost

            National File; Replacement Cost Values; Reconstruction Cost Values; First Floor Height data;

            Structural Geo Coding, and RQE models. CoreLogic offers this Software for sale through the

            commercial market as well.

                     5.      The licenses provided by CoreLogic enable FEMA to use its Software platforms to

            run models for insurance purposes to assess risk in various locations and for designated properties

            around the country, which FEMA uses to make NFIP-related decisions. It is my understanding

            that FEMA used its own flood insurance policyholder data as inputs to run its modeling, selected

            the model analysis options provided by CoreLogic and other vendors, ran the models, and

            generated flood loss estimates. I also understand that FEMA utilized the results of CoreLogic’s




                                                               2
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               Case 2:23-cv-01369-DJP-MBN                Document 29-12     Filed 06/18/24       Page 3 of 15




            Software modeling, along with other model results and data, in developing Risk Rating 2.0.

            CoreLogic had no role in preparing the input data, running the models, or extracting, analyzing

            and utilizing the flood model results.

                     6.      CoreLogic’s Software runs simulated flood and catastrophe models, which include

            both probabilistic and historical events. The probabilistic events are realistic simulations of events

            that could occur in any year and the historical events are recreated simulations of actual historical

            events. For example, our flood model simulates the footprint of a flood across an affected area,

            calculates the depth of water at individual building locations, determines the degree of damage for

            each building type, and applies insurance policy terms to estimate losses. These simulated losses

            from events in our model can be utilized to assess the frequency and severity of flooding events,

            annual expected losses, and large loss scenarios.

                     7.      Licensees using our Software, such as FEMA, can use our flood model to develop

            premiums for individual policies and/or groups of policies, create premium rating factors for

            different structure types or structural features, and create and negotiate reinsurance contracts and

            other risk transfer mechanisms.

                     8.      I am generally familiar with the Freedom of Information Act (“FOIA”) request and

            Complaint filed by Plaintiffs St. Charles Parish and parish president Matthew Jewell, seeking the

            disclosure of records under FOIA related to the Risk Rating 2.0 program, which includes data

            related to and/or produced by CoreLogic’s Software provided under the Contract.

                     9.      The statements contained in this declaration are based upon my personal knowledge

            of the Contract, CoreLogic’s Software, and the information provided to me in my official capacity,

            and the conclusions I reached based on that knowledge and information.




                                                               3
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               Case 2:23-cv-01369-DJP-MBN                Document 29-12          Filed 06/18/24   Page 4 of 15




                  CoreLogic’s Software Data in FEMA’s Records and CoreLogic’s Protection of its
                                     Proprietary and Sensitive Software Data

                     10.      Risk Rating 2.0 is FEMA’s actuarial update to the NFIP’s pricing methodology,

            and the Contract was issued to obtain software to facilitate the development of Risk Rating 2.0 and

            operation of the NFIP.

                     11.      The Contract set multiple performance specifications and requirements that

            CoreLogic’s Software satisfies, which include, but are not limited to the following:

                           a. To add credibility to Risk Rating Redesign and Reinsurance Programs;

                           b. To run models using NFIP data to understand the program’s risk and exposure to

                              flood loss;

                           c. To compare insurance premiums proposed by reinsurers using the same models

                              reinsurers are using to justify their premiums;

                           d. To help the NFIP set rates for its policies; and

                           e. To understand and validate the accuracy and precision of available catastrophic

                              flood models.

                     12.      CoreLogic’s performance of the Contract is ongoing and CoreLogic continues to

            provide NFIP Risk Rating 2.0 services to FEMA.

                     13.      CoreLogic’s Software used to support the NFIP is based upon multiple proprietary

            and sensitive algorithms, formulas, models, and related data developed by CoreLogic over many

            years and used for the purposes of developing risk modeling and pricing for the NFIP and for

            multiple other purposes for other federal and commercial customers.

                     14.      CoreLogic only provides to its customers a limited license to its Software for the

            limited purposes of running its customers’ modeling requirements. With regard to FEMA, the

            limited license provided to FEMA facilitates modeling in support of the NFIP in the manner



                                                                4
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               Case 2:23-cv-01369-DJP-MBN                Document 29-12    Filed 06/18/24      Page 5 of 15




            described by the Contract. CoreLogic does not transfer to FEMA or any other customer ownership

            of CoreLogic’s Software or the proprietary and sensitive intellectual property that comprises its

            Software, and the limited license thus does not permit FEMA to publicly disclose such data.

                     15.     The Contract requires that the NFIP data used to facilitate the NFIP stay behind

            FEMA’s firewall in a FEMA-secured environment and that all modeling be performed within a

            FEMA-secure environment. Thus, CoreLogic’s Software and any associated codes, protocols, and

            outputs are contractually protected. This firewall and secured environment are meant to protect

            the proprietary and sensitive nature of the data and software produced by third party vendors, such

            as CoreLogic, to support the NFIP, and to protect the proprietary and sensitive data ultimately

            produced as end product of the NFIP.

                     16.     CoreLogic has developed its Software suite over approximately 30 years, the

            development cost of which has exceeded approximately $100M. CoreLogic derives significant

            annual revenue from licensing our subscription-based Software, which includes our models.

                     17.     CoreLogic keeps its Software data and related pricing data confidential and does

            not publicly release such information or share it with any third parties, including the government,

            without first ensuring that its intellectual property is subject to zealous safeguards imposed by

            contract.

                     18.     CoreLogic implements industry-leading security protocols to protect its Software

            codes, protocols, modeling, related pricing, and other proprietary and sensitive data, which

            include, but are not limited to: password protections over the data; housing the data in network

            secure databases; limiting access to such Software data by employees and third parties to only

            those that have a “need to know” and need to access the Software data for Software development

            and contract purposes; prohibiting the release of Software data to or by employees and third parties




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               Case 2:23-cv-01369-DJP-MBN                Document 29-12   Filed 06/18/24     Page 6 of 15




            without a valid contract purpose; requiring employees and third parties to sign nondisclosure

            agreements before accessing Software data; supervising the safeguarding of such data by a privacy

            officer; requiring confidentiality as a contract term before providing the information to others,

            including the government, in licensing and contract agreements; providing only limited licenses to

            its Software data and intellectual property to third parties, the transfer of which is governed by

            contract; and by marking the Software data with protective banners indicating that the data is

            considered proprietary and sensitive, and not to be disseminated in a manner contrary to the

            agreement with CoreLogic.

                     19.     The methods CoreLogic uses to protect our intellectual property and data are

            standard across the modeling industry.

                               Withholding of CoreLogic’s Confidential Commercial Information

                     20.     On August 11, 2023, FEMA sent a FOIA Notice to CoreLogic informing it of the

            FOIA request from Adams and Reese, LLP, submitted on behalf of parish president Matthew

            Jewell of St. Charles Parish, Louisiana (the “FOIA Notice”), seeking records on the Risk Rating

            2.0 modeling and algorithm data, including that used by, and developed by CoreLogic’s Software.

                     21.     The Contract categorizes CoreLogic’s scopes of work into various Contract Line

            Item Numbers, or “CLINS.” Specifically, the Contract contains ten CLINS that cover the Contract

            scope of work for the five-year Contract period of performance – the Base Year, Option Year 1,

            Option Year 2, and Option Year 3, and Option Year 4.

                     22.     Each of the five Contract years contain two CLINS covering the same two

            categories of Software services provided by CoreLogic, the first scope of work being “Catastrophic

            Data Modeling Software for Inland Flood w/ Training Support,” and the second scope of work




                                                               6
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                Case 2:23-cv-01369-DJP-MBN               Document 29-12    Filed 06/18/24     Page 7 of 15




            being “Catastrophic Data Modeling Software for Storm Surge Modeling capability w/Training

            Support.”

                     23.     CoreLogic provided pricing to FEMA for each of the Contract’s ten CLINS for the

            Software services that it provided to FEMA. FEMA incorporated that pricing into the Contract

            and CoreLogic performed the Contract based on that pricing proposed by CoreLogic and accepted

            by FEMA.

                     24.     CoreLogic developed this Contract pricing based on its proprietary and sensitive

            Software coding, development, operations, and efforts used to develop, test, produce, manage, and

            maintain the Software for FEMA.

                     25.     CoreLogic protects its Software data, pricing, modeling, modeling factors, and our

            user and customer data private and does not disclose such information to third parties unless the

            disclosure is protected by a non-disclosure agreement or by Contract. As such, CoreLogic objected

            to FEMA disclosing its Software data, pricing, modeling-related information, and modeling

            outputs in response to the FOIA Notice.

                     26.     Specifically, on September 8, 2023,1 September 15, 2023, and March 2, 2024

            CoreLogic responded to FEMA FOIA Notices and objected to the release of CoreLogic’s Software

            data, pricing, modeling-related information, and modeling outputs. Specifically, CoreLogic’s

            September 8, 2023 response informed FEMA that:

                             a.      CoreLogic “objects to FEMA disclosing any CoreLogic data, algorithms,

            calculations, pricing, valuations, outputs, deliverables, or related data in response to the FOIA

            Request as all such information constitutes CoreLogic’s: (1) trade secrets; and (2) commercial and




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                A copy of CoreLogic’s September 8, 2023, response to FEMA is attached to this declaration.


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               Case 2:23-cv-01369-DJP-MBN                Document 29-12      Filed 06/18/24    Page 8 of 15




            financial information, which makes such information exempt from disclosure under FOIA

            pursuant to FOIA Exemption 4”;

                             b.      The Software that CoreLogic provided to FEMA was “protected data” and

            was constituted Software under the following specific CoreLogic trade names: “Risk Meter API;

            Replacement Cost National File; Replacement Cost Values; Reconstruction Cost Values; First

            Floor Height data; Structural Geo Coding, and RQE models”; and

                             c.      “The release of such confidential, proprietary, and competitively sensitive

            information to a third party and/or competitor of CoreLogic would cause significant competitive

            and financial harm to CoreLogic by enabling CoreLogic’s competitors to gain access to

            information, which could subsequently be used by that competitor to predict CoreLogic’s pricing

            and methodologies, ascertain in detail competitive differentiators and to potentially reverse

            engineer its products / services / models. CoreLogic protects such [Software] from disclosure to

            third parties to avoid such competitive harm and at no point has CoreLogic informed FEMA that

            it could release such sensitive information to third parties.”

                     27.     As such, CoreLogic requested that FEMA not disclose any of CoreLogic’s

            Software codes, protocols, modeling, and related pricing provided to FEMA in relation to the

            services provided under the Contract as that data constitutes proprietary and sensitive data that

            CoreLogic’s protects from disclosure to all third parties.

                     28.     CoreLogic understands that FEMA ultimately redacted certain CoreLogic data in

            what it ultimately produced to Plaintiffs. Specifically, CoreLogic understands that FEMA redacted

            CoreLogic’s Contract CLIN pricing and Contract funded amounts, as well as CoreLogic modeling

            factors and outputs provided by and/or generated by CoreLogic’s Software.




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                     29.     In particular, CoreLogic’s CLIN pricing and funded figures are commercially

            sensitive data as they are provided by and/or generated by CoreLogic based on the direct costs

            incurred to develop, manage, and maintain the Software at issue, along with the indirect costs

            incurred in relation to the Software development. The release of this contract data would cause

            significant financial harm to CoreLogic by enabling CoreLogic’s competitors to gain access to this

            information, which could subsequently be used by competitors to predict CoreLogic’s pricing and

            business strategy. CoreLogic customarily treats this line-item contract data as private; it does not

            publicly disclose this sensitive business information.

                     30.     Further, the CoreLogic modeling factors and outputs also commercially sensitive

            data as they are provided by and/or generated by CoreLogic’s Software and could be used to

            potentially reverse engineer or predict how CoreLogic’s Software and modeling methodologies

            operate or respond to specific inputs and/or what outputs would result from such inputs. A

            competitor could use the withheld data to understand the proprietary and sensitive interworking of

            CoreLogic’s Software and its modeling methodologies and/or to potentially reverse engineer such

            Software and modeling to the detriment of CoreLogic, who zealously protects such data and

            methodologies in the manners described above.

                     31.     CoreLogic zealously protects such data and methodologies, including outputs

            generated by its model from input data, because outputs like annual expected flood losses are

            derived directly from our Software and represent our proprietary data. Outputs such as annual

            expected losses are a core part of our catastrophe modeling commercial offering; our licensees are

            paying for the ability to have our model generate these loss estimates. And the loss estimates reflect

            the core underlying assumptions and proprietary aspects of our model; they hinge on our model’s

            unique view of flood hazard and vulnerability.




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              Case 2:23-cv-01369-DJP-MBN                Document 29-12      Filed 06/18/24      Page 10 of 15




                     32.     If FEMA is unable to maintain the confidentiality of our catastrophe modeling

            information, we will likely be unwilling to license our catastrophe modeling products to the

            government in the future in a similar fashion. Public disclosure of our proprietary catastrophe

            modeling information poses great financial risk to us.

                     I declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

            and correct to the best of my knowledge.

                     Executed on this 13th day of June 2024.


                                                             ______________________________
                                                             Mikhail Palatnik
                                                             SVP – Product Management, Insurance Solutions




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                 Case 2:23-cv-01369-DJP-MBN                      Document 29-12           Filed 06/18/24          Page 11 of 15


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 Case 2:23-cv-01369-DJP-MBN            Document 29-12        Filed 06/18/24      Page 14 of 15




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 Case 2:23-cv-01369-DJP-MBN            Document 29-12        Filed 06/18/24     Page 15 of 15




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